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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                       MIDLAND/ODESSA DIVISION

State of Texas, et al.,                       §
                                              §
            Plaintiffs,                       §
                                              §
       v.                                     §
                                              §      Case No. 7:23-cv-00022-DC
United States Department of                   §
Health and Human Services, et al.,            §
                                              §
                                              §
            Defendants.
                                              §

                      PLAINTIFF MAYO PHARMACY INC.’S
                      RULE 7.1 DISCLOSURE STATEMENT


      Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Mayo Pharmacy, Inc. states that it is

a non-governmental corporation, and that there is no parent corporation nor any

publicly held corporation owning 10% or more of its stock.

Respectfully submitted this 10th day of March, 2023.

                             By: /s/ Ryan L. Bangert
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                          CERTIFICATE OF SERVICE

      I certify that on March 10, 2023, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court Western District of Texas by

using the CM/ECF system. I certify that service on the following Defendants’ Filing

User will be accomplished through the NEF:

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                                 By: /s/ Ryan L. Bangert
                                         Ryan L. Bangert




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